                            Case 16-11496-JKO                   Doc 134           Filed 02/08/19             Page 1 of 2
CGFD44 (10/01/16)




ORDERED in the Southern District of Florida on February 8, 2019




                                                                                                  John K Olson
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 16−11496−JKO
                                                                                                                 Chapter: 13


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Constance Marie Freund
11810 NW 5th Ct
Plantation, FL 33325−1814

SSN: xxx−xx−2421




             ORDER DISMISSING CASE PURSUANT TO TRUSTEE'S REPORT OF
            NON−COMPLIANCE BY DEBTOR WITH POST CONFIRMATION PLAN

     As provided under Local Rule 3070−1(C)(2)(c), a Report of Non−Compliance by Debtor with Plan
Payments has been filed by the trustee in this case indicating that the debtor was served by the trustee
with a notice of delinquency which established a deadline for the debtor to become current with plan
payments and that the debtor has failed to meet this deadline.

       Accordingly, it is

ORDERED that:



                                                                    Page 1 of 2
                        Case 16-11496-JKO               Doc 134        Filed 02/08/19   Page 2 of 2




      1. This case is dismissed with prejudice as to the filing of any bankruptcy case in any federal
         bankruptcy court in the United States of America by the above−named debtor for 180 days
         from entry of this order, or the expiration of any prejudice period set in any previous order,
         whichever is later.

      2. All pending motions are denied as moot.

      3. The trustee shall file a final report prior to the administrative closing of the case.

      4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Federal Building, 299
         E Broward Blvd, Room 112, Ft Lauderdale FL 33301, $0.00 for the balance of the filing fee as
         required by Local Rule 1017−2(E). Any funds remaining with the trustee shall be applied to this
         balance and the trustee must dispose of any funds in accordance with the Bankruptcy Code
         and Local Rule 1017−2(F), unless otherwise ordered by the court. The court will not entertain
         a motion for reconsideration of this order unless all unpaid fees are paid at the time the motion
         is filed.

      5. A motion to rehear, reconsider, or reinstate a dismissed case must be filed in accordance with
         the requirements of Local Rule 9013−1(E).

      6. In accordance with Local Rule 1002−1(B)(1), the clerk of court is directed to refuse to accept
         for filing any future voluntary petitions submitted by this debtor if the refiling violates a prior
         order of the court or if the petition is accompanied by an Application to Pay Filing Fee in
         Installments and filing fees remain due from any previous case filed by the debtor.



The clerk of court shall serve a copy of this order on all parties of record.




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                                                           Page 2 of 2
